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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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 YEHUDA HERSKOVIC,

                   Plaintiff,
                                                               ORDER
              -against-                                 20-CV-0177(EK)(PK)
 TRANSPORTES AEREOS PORTUGUESES, S.A.,

                   Defendant.


-------------------------------------------x

ERIC KOMITEE, United States District Judge:

           Plaintiff Yehuda Herskovic, proceeding pro se, brings

this action under the Montreal and Warsaw Conventions against

defendant airline Transportes Aereos Portugueses, S.A. (TAP).

Defendant moved to dismiss the complaint pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure, arguing that

the doctrine of “accord and satisfaction” requires dismissal

because Plaintiff deposited a check from TAP which settled all

his claims.

           In support of this argument, Defendant filed a

“Declaration of Jonathan E. Demay,” ECF No. 12, along with its

motion to dismiss.     The declaration attached six exhibits.

These exhibits contain documents that were not referenced or

otherwise incorporated in Plaintiff’s amended complaint.            They

include correspondence between the parties (emails and letters)


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dated August through October 2019, a copy of a check from TAP in

the amount of $653.02, and copies of court documents from a

state court proceeding between the parties.

            These documents, on their face, support Defendant’s

argument that the doctrine of accord and satisfaction applies

here.    Because this doctrine, if it applies, would result in the

dismissal of Plaintiff’s claims, it is appropriate to resolve

this issue now.     To do so, the Court must consider the documents

Defendant submitted.      Accordingly, the Court hereby notifies the

parties that it intends to convert Defendant’s motion to one for

summary judgment under Rule 56, pursuant to Rule 12(d) of the

Federal Rules of Civil Procedure.

            This means the Court will consider the six documents

Defendant attached as exhibits to the Declaration of Jonathan E.

Demay.    Plaintiff may submit briefing to argue that these

documents do not establish that Plaintiff’s acceptance of

Defendant’s check resulted in an “accord and satisfaction” that

settled his claims, or any other documentation he believes

raises an issue of fact on this question.

            In addition to any arguments Plaintiff wishes to make,

Plaintiff may also submit evidence that is relevant to the

“accord and satisfaction” argument Defendant makes.           This

evidence may consist of emails, letters, or any other documents

that relate to Defendant’s “accord and satisfaction” defense.

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In particular, Plaintiff should submit the “further

communication and letters that Plaintiff and Defendant

exchanged” that he claims “will substantiate that Plaintiff only

accepted the $653 to satisfy the judgment in Small Claims Court”

and not “as satisfaction for the claims related to bumping at

Lisbon Airport.”     ECF No. 17.

           The Court offers the following additional guidance to

inform Plaintiff as to the type of evidence he should submit.

This is by no means a complete list of the items that Plaintiff

may submit.    But he should, if he can, present:

 •   Any evidence showing TAP admitted that it owed Plaintiff the

     amount listed in the check ($653.02).

 •   Any evidence showing that Plaintiff told TAP, after receiving

     the check but before depositing it, that the check (or the

     amount listed in it) would not settle his claim.

 •   Any evidence or context regarding the letter Plaintiff sent

     TAP on October 23, 2019 and the phone calls described in the

     letter as taking place on September 24 or 25, 2019.

           Plaintiff must file these materials — both his

arguments and any evidence — by January 4, 2021.           Defendant may

file a reply brief, if it chooses, by January 11, 2021.

Defendant is directed to send Plaintiff the notice required by




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Rule 12.1 of the Local Rules of the United States District

Courts for the Southern and Eastern Districts of New York.


     SO ORDERED.

                                   _/s/ Eric Komitee_________________
                                   ERIC KOMITEE
                                   United States District Judge


Dated:     December 3, 2020
           Brooklyn, New York




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